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 1                                      UNITED STATES DISTRICT COURT
 2                                             DISTRICT OF NEVADA
 3
 4    UNITED STATES OF AMERICA,               )                   Case No. 2:16-cr-00265-GMN-CWH
                                              )
 5                Plaintiff,                  )
                                              )
 6          v.                                )
                                              )
 7    ALBERT PEREZ,                           )                   ORDER
                                              )
 8                Defendant.                  )
                                              )
 9    _______________________________________ )
10            Presently before the Court is Defendant Albert Perez’s ex parte motion (ECF No. 397), filed
11    on August 23, 2017. The Court reviewed Defendant’s motion, and found good cause to order
12    Defendant to be transferred from the Central District of California, where he is now incarcerated, to
13    the District of Nevada. Without granting Defendant’s motion, the Court ordered the government to
14    show cause why Defendant should not be transferred. (ECF No. 402). The government responded
15    (ECF No. 409) on September 11, 2017, arguing that Defendant’s sentencing hearing in a related case
16    in the Central District of California is currently scheduled for September 28, 2017, so a transfer
17    before that hearing could cause delay or a waste of resources. The government does not oppose
18    transfer after the sentencing hearing.
19            In light of Defendant’s upcoming sentencing hearing, the Court will grant Defendant’s
20    motion, but stay transfer until after sentencing. Should sentencing be postponed, Defendant may file
21    a further request for transfer.
22    //
23    //
24    //
25    //
26    //
27    //
28    //

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 1           IT IS THEREFORE ORDERED that Defendant’s ex parte motion (ECF No. 397) is
 2    GRANTED. The U.S. Marshal shall transport Defendant to the District of Nevada. This order is
 3    STAYED until after Defendant’s sentencing hearing in the Central District of California, case
 4    2:16-cr-00729-JAK.
 5           DATED: September 12, 2017
 6
 7                                                         _________________________________
                                                           C.W. Hoffman, Jr.
 8                                                         United States Magistrate Judge
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